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UN|TED STATES DlSTRECT COURT
DlSTRlCT OF CONNECT|CUT

 

Klmberly M<=Cue» § civil Action No.:

Plaintiff,
v.

FirstSource Advantage, LLC; and ; COMPLA'NT

DOES 1-10, inciusive, .
f october 14, 2010

Defendants.

For this Compiaint, the Piaintif'f, Kimber|y McCue, by undersigned counse|,

states as foi|ows:

JUR|SD|CT|ON

1. This action arises out of Defendants’ repeated violations of the Fair
Debt Co||ection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the
invasions of Piaintiff’s personal privacy by the Defendants and their agents in
their illegal efforts to collect a consumer debt.

2. Supp|emental jurisdiction exists pursuant to 28 U.S.C. § 1367.

3. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in
that the Defendants transact business in this District and a substantial portion of

the acts giving rise to this action occurred in this District.

PART|ES
4. The P|aintiff, Kimberly McCue (“P|aintiff”), is an adult individual

residing in Norwaik, Connecticut, and is a “consumer” as the term is defined by

15 u.s.c. § 1692a(3).

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5. Defendant First Source Advantage, LLC (“First Source"), is a New
York business entity with an address of 205 Bryant Woods South, Amherst, New
York 14228, operating as a collection agency, and is a “debt coi|ector” as the
term is defined by 15 U.S.C. § 1692a(6).

6. Does 1-10 (the “Col|ectors”) are individual collectors employed by
First Source and whose identities are currently unknown to the Plaintiff. One or
more of the Coilectors may be joined as parties once their identities are disciosed
through discovery.

7. First Source at aii times acted by and through one or more of the

Co|iectors.

ALLEGATiONS APPLiCABLE TO ALL CQUNTS
A. The Debt

8. A financial obligation (the “Debt”) was incurred to a creditor (the
“Creditor”).

9. The Debt arose from services provided by the Creditor which were
primarily foxl fami|y, personal or household purposes and which meets the
definition of a “debt” under 15 U.S.C. § 1692a(5).

10. The Debt was purchased, assigned or transferred to First Source for
coilection, or First Source was employed by the Creditor to collect the Debt.

11. ¥he Defendants attempted to coliect the Debt and, as such, engaged

in “communications" as defined in 15 U.S.C. § 1692a(2).

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B. First Source Enqaqes in Harassment anc_i Abusive Tactics

12. Defendants ca|ied Piaintiff’s residentiai phone line in an attempt to
collect the debt with the intent to annoy and harass.

13. Defendants left voice messages on Piaintiff’s residential phone line
disclosing that the Plaintiff owed debt.

14. Defendants piaced automated calls with pre-recorded voice
messages on Plaintiff’s residentiai phone iine in an attempt to collect the Debt.

15. Defendants failed to inform Piaintiff of her rights under the state and
federai laws by written correspondence within 5 days after the initial

communication, including the right to dispute the Debt.
C. Plaintiff Suffered Actua| Damagg_s_

16. The Plaintiff has suffered and continues to suffer actual damages as
a result of the Defendants’ unlawful conduct.

17. As a direct consequence of the Defendants’ acts, practices and
conduct, the P|aintiff suffered and continues to suffer from humiliation, anger,
anxiety, emotional distress, fear, frustration and embarrassment

18. The Defendants’ conduct was so outrageous in character, and so
extreme in degree, as to go beyond ali possible bounds of decency, and to be

regarded as atrocious, and utterly intolerable in a civilized community.

COUNT l
V|OLATIONS OF THE FDCPA 15 U.S.C. § 1692. et Seq4

49. The P|aintiff incorporates by reference ail of the above paragraphs of

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this Complaint as though fully stated herein.

20. 'i'he Defendants’ conduct vioiated 15 U.S.C. § 1692e(10) in that
Defendants employed false and deceptive means to collect a debt.

21. The Defendants’ conduct violated 15 U.S.C. § 1692e(11) in that
Defendants failed to inform the consumer that the communication was an attempt
to coilect a debt.

22. The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(1) in that
Defendants failed to send the Plaintiff a validation notice stating the amount of
the Debt.

23. The Defendants’ conduct violated 15 U.S.C. § 16929(a)(2) in that
Defendants failed to send the Piaintiff a validation notice stating the name of the
originai creditor to whom the Debt was owed.

24. The Defendants’ conduct violated 15 U.S.C. § 16929(a)(3) in that
Defendants failed to send the Plaintiff a vaiidation notice stating the Plaintiff’s
right to dispute the Debt within thirty days.

25. The Defendants’ conduct violated 15 U.S.C. § 16929(a)(4) in that
Defendants failed to send the Plaintiff a validation notice informing the P|aintiff of
a right to have verification and judgment mailed to the Plaintiff.

26. The Defendants’ conduct violated 15 U.S.C. § 16929(a)(5) in that
Defendants failed to send the Piaintiff a validation notice containing the name and
address of the original creditor.

27. 'fhe foregoing acts and omissions of the Defendants constitute

numerous and muitiple violations of the FDCPA, including every one of the

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above-cited provisions.

28. The Plaintiff is entitled to damages as a result of Defendants’

violations.

COUNT il
lNVASiON OF PR|VACY BY lNTRUS|ON UPON SECLUS|ON

29. The Plaintiff incorporates by reference all of the above paragraphs of
this Complaint as though fully stated herein.

30. The Restatement of Torts, Second, § 652(b) defines intrusion upon
seclusion as, “One who intentionally intrudes...upon the solitude or seclusion of
another, or his private affairs or concerns, is subject to liability to the other for
invasion of privacy, if the intrusion would be highly offensive to a reasonable
person."

3‘l. Connecticut further recognizes the Plaintiff’s right to be free from
invasions of privacy, thus the Defendants violated Connecticut state |aw.

32. The Defendants intentionally intruded upon P|aintiff’s right to privacy
by continually harassing the Plaintiff with phone calls to her horne and by
threatening to come to her home to seize her personal belongings.

33. The telephone calls made by the Defendants to the P|aintiffs were so
persistent and repeated with such frequency as to be considered, “hounding the
plaintiff,” and, “a substantial burden to her existence," thus satisfying the
Restatement of Torts, Second, § 652(b) requirement for an invasion of privacy,

34. The conduct of the Defendants in engaging in the illegal collection

activities resulted in multiple invasions of privacy in such a way as would be

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considered highly offensive to a reasonable person.

35. As a result of the intrusions and invasions, the Plaintiff is entitled to
actual damages in an amount to be determined at trial from the Defendants.

36. All acts of the Defendants and its agents were committed with
malice, intent, wantonness, and recklessness, and as such, the Defendants is

subject to punitive damages.

COUNT lll

V|OLAT!ONS OF THE CONN§CT|C\L|'_UNFAIR TRA[_)E PRACTIC§S ACT.
Conn. Gen. Stat. § 42-110a, et seq.

37. The Plaintiff incorporates by reference all of the above paragraphs of
this Complaint as though fully stated herein.

38. The Defendants are each individually a “person” as defined by Conn.
Gen. Stat. § 42-‘l10a(3).

39. The Defendants engaged in unfair and deceptive acts and practices
in the conduct of its trade, in violation of Conn. Gen. Stat. § 42-110b(a).

40. The Plaintiff is entitled to damages as a result of the Defendants’

violations.

COUNT |V

VIOLAT|ONS OF THE TELEPHONE CONSUM§R PRQ___'_|'__§CT|ON ACT -
47 U.S.C. § 227, et seq.

41. The Plaintiff incorporates by reference all of the above paragraphs of

this Complaint as though fully stated herein.
42. Without prior consent the Defendants made telephone calls to the

Plaintist residential telephone line using an artificial or prerecorded voice to

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deliver a message without the prior express consent of the Plaintiff in violation
of 47 U.S.C. § 227(b)(1)(B).

43. The foregoing acts and omissions of the Defendants constitute
numerous and multiple violations of the 'l'elephone Consumer Protection Act,
including every one of the above-cited provisions

44. The Plaintiff is entitled to damages as a result of the Defendants’

violations.

COUNT V
lNTENTlONAL |NFLlCT|ON OF EN|OTIONAL DISTRESS

45. lhe Plaintiff incorporates by reference all of the above paragraphs of
this Complaint as though fully set forth herein at length.

46. The acts, practices and conduct engaged in by the Defendants vis-a-
vis the Plaintiff was so outrageous in character, and so extreme in degree, as to
go beyond all possible bounds of decency, and to be regarded as atrocious, and
utterly intolerable in a civilized community.

47. The foregoing conduct constitutes the tort of intentional infliction of
emotional distress under the laws of the State of Connecticut.

48. All acts of the Defendants and the Coilectors complained of herein
were committed with malice, intent, wantonness, and recklessness, and as such,

the Defendants are subject to imposition of punitive damages.

COUNT V|
COMMON LAW FRAUD

49. The Plaintiff incorporates by reference all of the above paragraphs of

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this Cornplaint as though fully stated herein.

50. The acts, practices and conduct engaged in by the Defendants and
complained of herein constitute fraud under the Cornmon Law of the State of
Connecticut.

51. The Plaintiff has suffered and continues to suffer actual damages as
a result of the foregoing acts and practices, including damages associated with,
among other things, humiliation, anger, anxiety, emotional distress, fear,
frustration and embarrassment caused by the Defendants. All acts of the
Defendants and the Co|lectors complained of herein were committed with malice,
intent, wantonness, and recklessness, and as such, the Defendants are subject to

punitive damages.

PRAY§R FOR RELlEF
WHEREFORE, the Plaintiff prays that judgment be entered against the

Defendants:

1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the
Defendants;

2. Statutory damages of $'i,OO0.00 pursuant to 15 U.S.C.
§1692k(a)(2)(A) against the Defendants;

3. Costs of litigation and reasonable attorney’s fees pursuant to 15
U.S.C. § 1692k(a)(3) against the Defendants;

4. Actual damages pursuant to Conn. Gen. Stat. § 42-1109;

5. Statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) & (C);

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6. Actual damages from the Defendants for the all damages
including emotional distress suffered as a result of the
intentiona|, reckless, andlor negligent FDCPA violations and
intentional, reckless, and/or negligent invasions of privacy in an
amount to be determined at trial for the Piaintiff;

7. Punitive damages; and

8. Such other and further relief as may be just and proper.

TRlAL BY JURY DEMANDED ON ALL COUNTS

Dated: October 20, 2010

Respectfully ub ' ,

 

  

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